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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


CAROLYN MAYE,

        Plaintiff,                                          Case No.: 8:18-cv-1486-JSM-TGW

v.

NAVIENT SOLUTIONS, LLC,

      Defendant.
___________________________/

                     JOINT VOLUNTARY DISMISSAL WITH PREJUDICE

        Plaintiff, Carolyn Maye (“Plaintiff”), and Defendant, Navient Solutions, LLC

(“Defendant”), by and through the undersigned counsels of record, pursuant to Rule 41(a)(1)(A)

of the Federal Rules of Civil Procedure, hereby file this Joint Voluntary Dismissal. Plaintiff

agrees to dismiss the instant action against Defendant with prejudice.

        Dated this 11th day of March 2019.


     /s/ Christopher Legg                               /s/ Aliza Malouf
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     Attorney for Plaintiff                             Counsel for Defendant
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 11, 2019, I electronically filed the foregoing
document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
is being served this date via U.S. mail and/ or some other authorized manner for those counsel or
parties, if any, who are not authorized to receive electronically Notices of Electronic Filing.


                                                      /s/ Christopher Legg
                                                      Christopher W. Legg, Esq.
